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                                                                                                                           BTXN 094 (rev. 5/04)




                                              UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS

 In Re:                                                                     §
                                                                            §
              National Rifle Association of America                         §         Case No.:
                                                                            §
                                                                            §
                                                             Debtor(s)      §
                                                                            §

                                                 VERIFICATION OF MAILING LIST


          The Debtor(s) certifies that the attached mailing list (only one option may be selected per form):

                                    is the first mail matrix in this case.

                                    adds entities not listed on previously filed mailing list(s).

                                    changes or corrects name(s) and address(es) on previously filed mailing list(s).

                                    deletes name(s) and address(es) on previously filed mailing list(s).



       In accordance with N.D. TX L.B.R. 1007.2, the above named Debtor(s) hereby verifies that the
attached list of creditors is true and correct.




 Date:       January 21, 2021                                        /s/ Wayne LaPierre
                                                                     Wayne LaPierre/Executive Vice President
                                                                     Signer/Title

 Date: January 21, 2021                                              /s/ Patrick J. Neligan, Jr.
                                                                     Signature of Attorney
                                                                     Patrick J. Neligan, Jr. 14866000
                                                                     Neligan LLP
                                                                     325 N. St. Paul
                                                                     Suite 3600
                                                                     Dallas, TX 75201
                                                                     214-840-5300 Fax: 214-840-5301

                                                                         XX-XXXXXXX
                                                                     Debtor's Social Security/Tax ID No.


                                                                     Joint Debtor's Social Security/Tax ID No.




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